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 6 Attorneys for Jeffrey I. Golden,
   Chapter 7 Trustee
 7

 8                                UNITED STATES BANKRUPTCY COURT

 9                                CENTRAL DISTRICT OF CALIFORNIA

10                                        SANTA ANA DIVISION

11

12 In re                                                Case No. 8:21-bk-11710-SC

13 JAMIE LYNN GALLIAN,                                  Chapter 7

14                                                      TRUSTEE’S NOTICE OF OPPOSITION,
                                                        OPPOSITION AND REQUEST FOR
15                     Debtor.                          HEARING TO DEBTOR'S NOTICE TO
                                                        TRUSTEE TO ABANDON ESTATE’S
16                                                      INTEREST IN REINVESTED FUNDS
                                                        FROM SALE OF UNIT 53, 10/31/2018 APN
17                                                      937-630-53 TO PURCHASE LBM1081 ON
                                                        NOVEMBER 1, 2018, AND AGAINST
18                                                      JAMIE LYNN GALLIAN RELATING TO
                                                        THE PURCHASE IN THE PERSONAL
19                                                      PROPERTY COMMONLY KNOWN AS
                                                        16222 MONTEREY LN #376,
20                                                      HUNTINGTON BEACH, CALIFORNIA
                                                        92649; MEMORANDUM OF POINTS
21                                                      AND AUTHORITIES AND REQUEST
                                                        FOR JUDICIAL NOTICE IN SUPPORT
22                                                      THEREOF

23
                                                        [HEARING REQUESTED]
24

25

26            PLEASE TAKE NOTICE that Jeffrey I. Golden, as the Chapter 7 Trustee for the

27 bankruptcy estate (the “Estate”) of Jamie Lynn Gallian (the “Debtor), hereby submits this

28 opposition to the Debtor’s Notice to Trustee to Abandon Estate’s Interest in Reinvested Funds from

     1692735.3 27064                                1
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 1 Sale of Unit 53, 10/31/2018 APN 937-630-53 to Purchase LBM1081 on November 1, 2018, and

 2 Against Jamie Lynn Gallian Relating to the Purchase in the Personal Property Commonly Known

 3 as 16222 Monterey Ln #376, Huntington Beach, California 92649 (docket no. 203) (the “Notice”),

 4 and requests that the Debtor set a hearing on the Notice.

 5            PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-

 6 1(o)(4), if a timely response and request for hearing is filed and served, within 14 days from the

 7 date of service of the response and request for hearing, the moving party must schedule and give

 8 not less than 14 days’ notice of a hearing to all responding parties and the United States Trustee. If

 9 movant fails to timely serve notice of a hearing date, the Court may deny the motion without

10 prejudice without further notice or hearing.

11            PLEASE TAKE FURTHER NOTICE that any reply to this opposition must be in writing,

12 filed with the Clerk of the Bankruptcy Court and served upon counsel for the Trustee named in the

13 upper left-hand corner of this notice not less than seven calendar days before the hearing.

14

15 DATED: September 8, 2022                    DANNING, GILL, ISRAEL & KRASNOFF, LLP

16

17
                                               By:          /s/ Aaron E. de Leest
18                                                   AARON E. DE LEEST
                                                     Attorneys for Jeffrey I. Golden, Chapter 7 Trustee
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2            The Debtor’s Notice to Trustee to Abandon Estate’s Interest in Reinvested Funds from Sale

 3 of Unit 53, 10/31/2018 APN 937-630-53 to Purchase LBM1081 on November 1, 2018, and Against

 4 Jamie Lynn Gallian Relating to the Purchase in the Personal Property Commonly Known as 16222

 5 Monterey Ln #376, Huntington Beach, California 92649 (docket no. 203) (the “Notice”), seeks an

 6 order “to have” Jeffrey I. Golden, as the Chapter 7 Trustee for the Debtor’s bankruptcy estate (the

 7 “Estate”):

 8                     abandon the Estate’s interest in debtor's personal residence she
                       resides in and against Jamie Lynn Gallian (“Gallian”) arising solely
 9                     out of the purchase on November 1, 2018 with reinvested proceeds
                       (the “Reinvested Proceeds”) in the property commonly known as
10                     16222 Monterey Lane Dr. Unit 376, Huntington Beach, California
                       92649 (the “Property”) to Gallian, including any claims under the
11                     Uniform Voidable Transactions Act (California Civil Code §§ 3439
                       et seq.) and 11 U.S.C. § 544.
12

13 Notice, p. 1, lines 23-28. No further description of the assets that the Debtor seeks to have

14 abandoned is provided in the Notice. Thus, it is unclear whether the Debtor is seeking

15 abandonment of one asset – the Property – or three separate assets – the Property, the Reinvested

16 Proceeds (which appears to be the equity in the Property), and unknown Uniform Voidable

17 Transactions Act claims arising in relation to the Debtor’s purchase of the Property (the “UVTA

18 Claims”) (collectively, the “Assets”). However, for the purposes of this opposition, the Trustee

19 opposes abandonment of all three Assets as set forth herein.

20

21            1.       The Debtor Cannot File a Notice of Abandonment

22            The Debtor is not entitled to the relief requested in the Notice because Local Bankruptcy

23 Rule 6007-1(a) does not permit the Debtor to file such a notice and use the notice provisions in

24 Rule 6007-1. Local Bankruptcy Rule 6007-1(a) provides that “only a trustee or debtor in

25 possession who desires to abandon property of the estate may seek to do so by a notice of intent to

26 abandon, without the necessity for filing a motion to abandon.” LBR 6007-1(a). Therefore,
27 because the Debtor is neither the Trustee in this chapter 7 case or a debtor in possession in a

28 Chapter 11 case, the Debtor is not authorized to seek abandonment by way of the Notice, and the

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 1 requested relief must be denied.

 2            Local Bankruptcy Rule 6007-1(b) requires that an order compelling the trustee or debtor in

 3 possession to abandon estate property must be brought by motion. LBR 6007-1(b). The Notice is,

 4 on its face, not a motion. Therefore, the relief requested in the Notice must also be denied because

 5 it was not brought by motion under Local Bankruptcy Rule 9013-1.

 6

 7            2.       Objections if the Court Considers the Notice as a Motion

 8            To the extent that the Court treats the Notice as a motion to compel abandonment, the relief

 9 requested still must be denied.1

10            Local Bankruptcy Rule 9013-1(a)(1) provides that the rules referenced in Fed. R. Bankr. P.

11 9013 relating to motion practice

12                     applies to (A) all contested matters (FRBP 9014), including motions,
                       whether filed in the bankruptcy case or an adversary proceeding,
13                     objections, applications, orders to show cause, (B) all requests for an
                       order of the court under FRBP 9013, such as applications that can be
14                     presented without a hearing, and (C) all requests that may be directed
                       to the Clerk, such as requests for the Clerk to enter a default.
15

16 LBR 9013-1(a)(1).

17            Local Bankruptcy Rule 9013-1(c)(3) further requires that evidence and declarations must be

18 served and filed with the moving papers as follows:

19                     There must be served and filed with the motion and as a part thereof:

20                     (A) Duly authenticated copies of all photographs and documentary
                       evidence that the moving party intends to submit in support of the
21                     motion, in addition to the declarations required or permitted by FRBP
                       9006(d); and
22
                       (B) A written statement of all reasons in support thereof, together
23                     with a memorandum of the points and authorities upon which the
                       moving party will rely.
24
     LBR 9013-1(c)(3).
25

26   1
     The Debtor also does not appear to have paid pay the required fee associated with filing a motion
   to compel abandonment. See https://www.cacb.uscourts.gov/filing-fees and 28 U.S.C. § 1930.
27 The  Court should not condone the Debtor’s failure to pay the required fee.
28

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 1            Here, because the Notice seeks the Debtor’s affirmative relief of abandonment and is

 2 required to be brought by motion, the rules in Local Bankruptcy Rule 9013-1 apply. However, the

 3 Debtor filed the Notice without filing or submitting any evidence, which is required to be filed with

 4 and supported by evidence. Accordingly, the relief requested must be denied on this ground alone.

 5            In addition, due to the lack of evidence, the Debtor cannot meet her burden for

 6 abandonment under 11 U.S.C. § 554(b). As the Court is well aware, § 554(b) only permits a court

 7 to order a trustee to abandon property of the estate where the property is “burdensome to the estate

 8 or that is of inconsequential value and benefit to the estate.” 11 U.S.C. § 554(b). An order to

 9 compel abandonment is “the exception, not the rule” and it is the burden of the party seeking to

10 compel abandonment (i.e., the Debtor) to prove that the asset has no value. In re Gill, 574 B.R.

11 709, 714 (B.A.P. 9th Cir. 2017) (“The moving party has the burden of establishing that the property

12 at issue is burdensome or of inconsequential value and benefit to the estate”). The Debtor, without

13 any evidence, cannot meet her burden. The Debtor has not offered any evidence in support of her

14 request – let alone any evidence that the assets are burdensome or of inconsequential to the Estate.

15 Therefore, because the Debtor cannot meet her burden and has failed to do so, the relief requested

16 in the Notice must be denied.

17            To the extent that the Court looks past the Debtor’s failure to meet her burden,

18 abandonment is still inappropriate at this time because there is value in the Property (or the equity

19 in the Property in the form of the Reinvested Proceeds) for the Estate. The Property has a current

20 value at or near $300,000, the Debtor’s claim of exemption in the Property was disallowed, and the

21 Trustee has now sought to employ a broker to sell it. See docket no. 162, Trustee’s Application to

22 Employ Coldwell Banker and Declaration of Greg Bingham,¶ 2, a true and correct copy of which is

23 attached as Exhibit “1” hereto and incorporated herein by this reference, and docket no. 177.

24 Rather than the Property and Reinvested Proceeds being burdensome or of inconsequential value to

25 the Estate, the opposite is true – there is value and benefit to the Estate. In light of these facts, there

26 is simply no justification for the requested abandonment.
27            Additionally, abandonment of the UVTA Claims is also inappropriate because the Notice

28 does not describe such “claims”, and the UVTA Claims are not listed and described on the

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 1 Debtor’s schedules or amended schedules. Accordingly, there can be no abandonment. See PM

 2 Factors, Inc. v. Kreisel (In re Kreisel), 399 B.R. 679, 687 (Bankr. C.D. Cal. 2008). Creditors must

 3 receive notice of what is being abandoned before there can be any abandonment. Id. at 688. Here,

 4 without any description of the UVTA Claims, creditors (and the Trustee for that matter) are not on

 5 notice and can only guess at what the Debtor wants abandoned. If the Debtor believes any such

 6 claims exist, the proper course is for the Debtor to amend her schedules to include and describe

 7 such claims and provide information to the Trustee so that he can evaluate them and decide if

 8 abandonment is appropriate or not.

 9

10            3.       Conclusion

11            The Debtor has failed to properly seek abandonment of the Assets by way of the Notice or,

12 if the Notice were considered a motion, engage with the substantive requirements of abandonment.

13 The Debtor has provided no evidence that the Assets that she seeks to have abandoned are

14 burdensome or of inconsequential value and, with respect to the UVTA Claims, has not established

15 that any such claims even exist. Therefore, the Court must deny the relief requested in its entirety.

16 The Trustee prays for all other appropriate relief under the circumstances.

17

18 DATED: September 8, 2022                     DANNING, GILL, ISRAEL & KRASNOFF, LLP

19

20
                                                By:          /s/ Aaron E. de Leest
21                                                    AARON E. DE LEEST
                                                      Attorneys for Jeffrey I. Golden, Chapter 7 Trustee
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 1                                   REQUEST FOR JUDICIAL NOTICE

 2            Jeffrey I. Golden, as Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate of Jamie

 3 Lynn Gallian (the “Debtor), requests that the Court take judicial notice of the following facts.

 4            1.       The Debtor’s schedules and amended schedules do not list or describe any asset or

 5 claims under the Uniform Voidable Transactions Act arising out of the Debtor’s purchase of the

 6 property commonly known as 16222 Monterey Lane Dr. Unit 376, Huntington Beach, California

 7 92649. See docket no. 1 (Debtor’s schedule A/B) and docket nos. 15, 16, 22, 37, 38, 39 and 72

 8 (Debtor’s amended schedule A/B).

 9            2.       On or about July 28, 2022, the Trustee filed his Application of the Chapter 7 Trustee

10 to Employ Real Estate Broker Coldwell Banker Realty and Agents William Friedman and Greg

11 Bingham Pursuant to 11 U.S.C. 327 and 328; Memorandum of Points and Authorities; and

12 Declarations of William Friedman and Greg Bingham in Support (docket no. 162), a true and

13 correct copy of which is attached as Exhibit “1” hereto and incorporated herein by this reference.

14            3.       On or about August 5, 2022, the Court entered its Order Granting Houser Bros. Co.

15 dba Rancho Del Rey Mobile Home Estate's Motion Objecting to Debtor's Claimed Homestead

16 Exemption in 16222 Monterey Lane, Space #376, Huntington Beach, CA 92649, docket No. 95

17 (docket no. 177), disallowing any claim of exemption by the Debtor in such property.

18

19 DATED: September 8, 2022                       DANNING, GILL, ISRAEL & KRASNOFF, LLP

20

21
                                                  By:          /s/ Aaron E. de Leest
22                                                      AARON E. DE LEEST
                                                        Attorneys for Jeffrey I. Golden, Chapter 7 Trustee
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                             EXHIBIT “1”

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                                                                         1 Jeffrey I. Golden, State Bar No. 133040
                                                                           jgolden@wgllp.com
                                                                         2 P.O. Box 2470
                                                                           Costa Mesa, California 92628-2470
                                                                         3 Telephone: (714) 966-1000
                                                                           Facsimile: (714) 966-1002
                                                                         4
                                                                           Chapter 7 Trustee
                                                                         5

                                                                         6

                                                                         7

                                                                         8                        UNITED STATES BANKRUPTCY COURT

                                                                         9               CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

                                                                        10 In re                                     Case No. 8:21-bk-11710-ES

                                                                        11 JAMIE LYNN GALLIAN,                       Chapter 7
Weiland Golden Goodrich LLP




                                                                        12                            Debtor.        APPLICATION OF THE CHAPTER 7
                                                                                                                     TRUSTEE TO EMPLOY REAL ESTATE
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                                                                        13                                           BROKER COLDWELL BANKER REALTY
                                Cost a Mesa, Ca lif orn ia 9 262 6




                                                                                                                     AND AGENTS WILLIAM FRIEDMAN AND
                                                                        14                                           GREG BINGHAM PURSUANT TO
                                                                                                                     11 U.S.C. §§ 327 AND 328;
                                                                        15                                           MEMORANDUM OF POINTS AND
                                                                                                                     AUTHORITIES; AND DECLARATIONS OF
                                                                        16                                           WILLIAM FRIEDMAN AND GREG
                                                                                                                     BINGHAM IN SUPPORT
                                                                        17
                                                                                                                     [16222 Monterey Lane, Space #376,
                                                                        18                                           Huntington Beach, CA 92649]

                                                                        19                                           Hearing information:
                                                                                                                     DATE:       August 18, 2022
                                                                        20                                           TIME:       10:30 a.m.
                                                                                                                     CTRM:       5A, Via ZoomGov
                                                                        21

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                                                                             1373973.1                               1               EMPLOYMENT APPLICATION

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                                                                         1 TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY JUDGE;

                                                                         2 THE OFFICE OF THE UNITED STATES TRUSTEE; DEBTOR AND DEBTOR’S

                                                                         3 COUNSEL; AND PARTIES IN INTEREST:

                                                                         4           Jeffrey I. Golden, the Chapter 7 trustee ("Trustee") for the bankruptcy estate

                                                                         5 ("Estate") of Jamie Lynn Gallian ("Debtor"), files this Application of the Chapter 7 Trustee

                                                                         6 to Employ Real Estate Broker Coldwell Banker Realty and Agents William Friedman and

                                                                         7 Greg Bingham Pursuant to 11 U.S.C. §§ 327 and 328 ("Application"). In support of the

                                                                         8 Application, the Trustee submits the following memorandum of points and authorities and

                                                                         9 the attached declarations of William Friedman ("Friedman Declaration") and Greg

                                                                        10 Bingham ("Bingham Declaration").

                                                                        11
Weiland Golden Goodrich LLP




                                                                        12 I.        STATEMENT OF FACTS
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                                                                        13           On July 9, 2021 ("Petition Date"), the Debtor filed a voluntary petition under
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                                                                        14 Chapter 7 of the Bankruptcy Code, including her bankruptcy schedules ("Schedules").

                                                                        15 Jeffrey I. Golden was appointed the Chapter 7 trustee. Since filing her original Schedules,

                                                                        16 the Debtor has filed at least nine sets of amended schedules.

                                                                        17           On the Petition Date, the registered title owner of the manufactured home located

                                                                        18 at 16222 Monterey Lane, Space #376, Huntington Beach, California 92649 ("Property"),

                                                                        19 which is Debtor’s residence, was J-Sandcastle Co, LLC. According to the Debtor’s

                                                                        20 Schedules, she was the 100% owner of J-Sandcastle Co, LLC.

                                                                        21           The Debtor claimed a homestead exemption in the Property in the amount of

                                                                        22 $600,000. On May 12, 2022, Houser Bros. Co., dba Rancho Del Rey Mobile Home

                                                                        23 Estates, filed its Motion Objecting to Debtor’s Claimed Homestead Exemption (Dkt. 95,

                                                                        24 "Motion"). The hearing on the Motion was held on June 2, 2022 and continued to July 21,

                                                                        25 2022. At the continued hearing, the Court granted the Motion and disallowed any claim of

                                                                        26 exemption by the Debtor in the Property.

                                                                        27           The Trustee intends to administer the equity in the Property upon further court

                                                                        28 order to pay claims of creditors and expenses of administration.
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                                                                         1 II.       PROPOSED EMPLOYMENT OF BROKER AND AGENTS

                                                                         2           The Trustee has solicited the assistance of Coldwell Banker Realty, a licensed

                                                                         3 California real estate broker ("Broker"), and William Friedman and Greg Bingham

                                                                         4 (together, "Agents"), agents of the Broker, in determining the value of the Property. Mr.

                                                                         5 Bingham has advised the Trustee that the fair market value of the Property is at or near

                                                                         6 $300,000. See Bingham Declaration.

                                                                         7           To facilitate the sale of the Property, the Trustee seeks to employ an experienced

                                                                         8 and reputable real estate broker and proposes to employ the Broker and the Agents

                                                                         9 pursuant to 11 U.S.C. §§ 327(a) and 328. The Broker has agreed to advertise the

                                                                        10 Property, to market and show the Property, to represent the Estate in connection with the

                                                                        11 sale of the Property, and to advise the Trustee with respect to obtaining the best offer for
Weiland Golden Goodrich LLP




                                                                        12 the sale of the Property.
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                                                                        13           The terms of employment agreed to by the Trustee, subject to approval of the
                                Cost a Mesa, Ca lif orn ia 9 262 6




                                                                        14 Court, as set forth in the residential listing agreement, manufactured home listing

                                                                        15 addendum, and addendum to exclusive authorization and right to sale (together, “Listing

                                                                        16 Agreement”) attached as Exhibit 1, are as follows:

                                                                        17                  1.     The Broker will have an exclusive listing on the Property, and the

                                                                        18           listing price will be $300,000. The Listing Agreement, including the listing price,

                                                                        19           may be modified by the Trustee in his discretion. The listing and sale of the

                                                                        20           Property is subject to Bankruptcy Court approval, and any sale of the Property will

                                                                        21           be “as is,” without any representations, guarantees or warranties of any kind,

                                                                        22           whether expressed or implied, by the Trustee. Upon the presentation of an

                                                                        23           acceptable purchase offer for the Property, the Trustee will file a motion seeking

                                                                        24           court authority to sell the Property and pay the total broker’s commission of six

                                                                        25           percent (6%) from the sale proceeds through escrow. A commission shall be paid

                                                                        26           only if the Property is sold by the Trustee. The Trustee’s motion will contain an

                                                                        27           overbid procedure.

                                                                        28
                                                                             1373973.1                                      3                    EMPLOYMENT APPLICATION

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                                                                         1                  2.     The Agents are informed and understand that no sale may be

                                                                         2           consummated until after notice and a hearing. Further, the Agents are aware of the

                                                                         3           provisions of 11 U.S.C. § 328(a) and understand and accept that, notwithstanding

                                                                         4           the terms and conditions of employment and compensation provided in the Listing

                                                                         5           Agreement, the Court may allow compensation different from the compensation

                                                                         6           provided under such terms and conditions after the conclusion of such

                                                                         7           employment, if such terms and conditions prove to have been improvident in light

                                                                         8           of developments not capable of being anticipated at the time of the fixing of such

                                                                         9           terms and conditions.

                                                                        10           The Agents are well qualified to represent the Trustee and the Estate in connection

                                                                        11 with the marketing and sale of the Property. Their profiles are attached as Exhibit 2.
Weiland Golden Goodrich LLP




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                                                                        13 III.      MEMORANDUM OF POINTS AND AUTHORITIES
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                                                                        14           Pursuant to 11 U.S.C. § 327(a), a trustee may employ attorneys and other

                                                                        15 professional persons who do not hold or represent an interest adverse to the estate, and

                                                                        16 who are disinterested persons, to represent or assist the trustee in carrying out the

                                                                        17 trustee’s duties.

                                                                        18           The Trustee has previously employed the Broker and the Agents in cases that are

                                                                        19 unrelated to the Debtor’s case. David M. Goodrich, a partner in the Trustee’s firm, has

                                                                        20 employed the Broker and William Friedman in other cases not involving the Debtor. In

                                                                        21 addition, Danning, Gill, Israel & Krasnoff, LLP, the Trustee’s general counsel, and

                                                                        22 attorney-trustees at that firm, have worked with the Broker and Agents in other cases not

                                                                        23 involving the Debtor.

                                                                        24           Except as provided above, to the best of the Trustee's knowledge, and based upon

                                                                        25 the attached Friedman and Bingham Declarations, the Broker and the Agents:

                                                                        26                  1.     have no connection with the Debtor, the Debtor’s principals, insiders,

                                                                        27           creditors, the Trustee, or any other party in interest, or their respective attorneys

                                                                        28
                                                                             1373973.1                                       4                    EMPLOYMENT APPLICATION

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                                                                         1           and accountants, or any person employed in the Office of the United States

                                                                         2           Trustee;

                                                                         3                  2.     are not creditors, equity security holders or insiders of the Debtor;

                                                                         4                  3.     are not and were not, within two years before the date of the filing of

                                                                         5           the petitions, directors, officers, or employees of the Debtor;

                                                                         6                  4.     do not represent an individual or entity with an interest adverse to the

                                                                         7           Estate;

                                                                         8                  5.     are not related to the United States Trustee or to the Bankruptcy

                                                                         9           Judge assigned to this case;

                                                                        10                  6.     are disinterested within the meaning of 11 U.S.C. §§ 327(a) and

                                                                        11           101(14);
Weiland Golden Goodrich LLP




                                                                        12                  7.     do not have any fee sharing arrangement, understanding or
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                                                                        13           compensation sharing arrangement with any other entity, except for the customary
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                                                                        14           division of the commission from the sale of a property between the listing broker

                                                                        15           and the selling broker, as provided for in the Listing Agreement; and

                                                                        16                  8.     will not receive a retainer in this case.

                                                                        17

                                                                        18 IV.       CONCLUSION

                                                                        19           The Trustee believes the employment of the Broker and the Agents on the terms

                                                                        20 and conditions provided herein is in the best interest of the Trustee and the Estate.

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                                                                             1373973.1                                       5                   EMPLOYMENT APPLICATION

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                                                                         1           WHEREFORE, the Trustee prays that the Application be approved and he be

                                                                         2 authorized to employ the Broker and the Agents, as an expense of the Estate, to market

                                                                         3 and sell the Property upon the terms and conditions set forth herein and in the Listing

                                                                         4 Agreement, and that he be authorized to execute the Listing Agreement attached hereto

                                                                         5 and any and all other ancillary documents necessary to list the Property for sale.

                                                                         6                                           Respectfully submitted,

                                                                         7

                                                                         8 Dated: July 28, 2022                      /s/ Jeffrey I. Golden______________________
                                                                                                                     JEFFREY I. GOLDEN
                                                                         9                                           Chapter 7 Trustee

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Weiland Golden Goodrich LLP




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                                                                         1                              DECLARATION OF WILLIAM FRIEDMAN

                                                                         2

                                                                         3           I, William Friedman, declare:

                                                                         4           1.     I am a real estate agent licensed in the State of California. I know each of

                                                                         5 the following facts to be true of my own personal knowledge or information and belief and,

                                                                         6 if called as a witness, I could and would competently testify with respect thereto. I am an

                                                                         7 agent of Coldwell Banker, located at 1608 Montana Avenue, Santa Monica, California

                                                                         8 90403. I am submitting this Declaration in support of the Application of the Chapter 7

                                                                         9 Trustee to Employ Real Estate Broker Coldwell Banker Realty and Agents William

                                                                        10 Friedman and Greg Bingham Pursuant to 11 U.S.C. §§ 327 and 328 ("Application"). Any

                                                                        11 capitalized terms not expressly defined herein shall have the meanings provided in the
Weiland Golden Goodrich LLP




                                                                        12 Application.
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                                                                        13           2.     The Broker and I are qualified to represent the Trustee and the Estate in
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                                                                        14 connection with the marketing and sale of the Property. A true and correct copy of the

                                                                        15 Listing Agreement is attached as Exhibit 1. A true and correct copy of my profile is

                                                                        16 attached as Exhibit 2.

                                                                        17           3.     On behalf of the Broker, I have agreed to accept employment on the terms

                                                                        18 and conditions set forth in the Application.

                                                                        19           4.     The Broker and I have been employed by the Trustee in other unrelated

                                                                        20 matters. The Broker and I also have been employed by David M. Goodrich, a partner in

                                                                        21 the Trustee’s firm, in other cases not involving the Debtor. In addition, Danning, Gill,

                                                                        22 Israel & Krasnoff, LLP, the Trustee’s general counsel, and attorney-trustees at that firm,

                                                                        23 have worked with the Broker and me in other cases not involving the Debtor.

                                                                        24           5.     To the best of my knowledge, except as provided above, the Broker and I:

                                                                        25                  a.     have no connection with the Debtor, the Debtor’s principals, insiders,

                                                                        26           creditors, the Trustee, any other party or parties in interest, their respective

                                                                        27           attorneys and accountants, or any person employed in the Office of the United

                                                                        28           States Trustee;
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                                                                         1                               DECLARATION OF GREG BINGHAM

                                                                         2

                                                                         3           I, Greg Bingham, declare:

                                                                         4           1.     I am a real estate agent licensed in the State of California. I know each of

                                                                         5 the following facts to be true of my own personal knowledge or information and belief and,

                                                                         6 if called as a witness, I could and would competently testify with respect thereto. I am an

                                                                         7 agent of Coldwell Banker, located at 840 Newport Center Drive, Suite 100, Newport

                                                                         8 Beach, California 92660. I am submitting this Declaration in support of the Application of

                                                                         9 the Chapter 7 Trustee to Employ Real Estate Broker Coldwell Banker Realty and Agents

                                                                        10 William Friedman and Greg Bingham Pursuant to 11 U.S.C. §§ 327 and 328

                                                                        11 ("Application"). Any capitalized terms not expressly defined herein shall have the
Weiland Golden Goodrich LLP




                                                                        12 meanings provided in the Application.
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                                                                        13           2.     I have advised the Trustee that the current market value of the Property is at
                                Cost a Mesa, Ca lif orn ia 9 262 6




                                                                        14 or near $300,000.

                                                                        15           3.     The Broker and I are qualified to represent the Trustee and the Estate in

                                                                        16 connection with the marketing and sale of the Property. A true and correct copy of the

                                                                        17 Listing Agreement is attached as Exhibit 1. A true and correct copy of my profile is

                                                                        18 attached as Exhibit 2.

                                                                        19           4.     On behalf of the Broker, I have agreed to accept employment on the terms

                                                                        20 and conditions set forth in the Application.

                                                                        21           5.     The Broker and I are employed by the Trustee in other unrelated matters. In

                                                                        22 addition, Danning, Gill, Israel & Krasnoff, LLP, the Trustee’s general counsel, and

                                                                        23 attorney-trustees at that firm, have worked with the Broker and me in other cases not

                                                                        24 involving the Debtor.

                                                                        25           6.     To the best of my knowledge, except as provided above, the Broker and I:

                                                                        26                  a.     have no connection with the Debtor, the Debtor’s principals, insiders,

                                                                        27           creditors, the Trustee, any other party or parties in interest, their respective

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                                                                         1           attorneys and accountants, or any person employed in the Office of the United

                                                                         2           States Trustee;

                                                                         3                  b.     are not creditors, equity security holders or insiders of the Debtor;

                                                                         4                  c.     are not and were not, within two (2) years before the date of the filing

                                                                         5           of the petition herein, directors, officers or employees of the Debtor;

                                                                         6                  d.     do not represent an individual or entity which holds an interest

                                                                         7           adverse to the Estate;

                                                                         8                  e.     are not related to the United States Trustee or to the Bankruptcy

                                                                         9           Judge assigned to this case;

                                                                        10                  f.     are disinterested within the meaning of 11 U.S.C. §§ 327(a) 101(14);

                                                                        11                  g.     have no fee sharing arrangement, understanding or compensation
Weiland Golden Goodrich LLP




                                                                        12           sharing arrangement with any other entity, except for the customary division of the
                         T el (714) 9 66-1 000 F ax (714) -96 6-10 02
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                                                                        13           commission from the sale of a property between the listing broker and the selling
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                                                                        14           broker, as provided for in the Listing Agreement; and

                                                                        15                  h.     will not receive a retainer in this case.

                                                                        16           I declare under penalty of perjury that the foregoing is true and correct.

                                                                        17           Executed on this _____ day of July, 2022, at Newport Beach, California.

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                                                                        19
                                                                                                                                               Greg Bingham
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                            650 Town Center Drive, Suite 600
                                               Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): Application Of The Chapter 7 Trustee To Employ
Real Estate Broker Coldwell Banker Realty And Agents William Friedman And Greg Bingham Pursuant To 11 U.S.C. §§
327 And 328; Memorandum Of Points And Authorities; And Declarations Of William Friedman And Greg Bingham In
Support will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
July 28, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Aaron E DE Leest adeleest@DanningGill.com, danninggill@gmail.com;adeleest@ecf.inforuptcy.com
Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
Jeffrey I Golden (TR) lwerner@wgllp.com, jig@trustesolutions.net;kadele@wgllp.com
D Edward Hays ehays@marshackhays.com,
ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.co
m
Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
Eric P Israel eisrael@DanningGill.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com
Laila Masud lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
Mark A Mellor mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com
Valerie Smith claims@recoverycorp.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
                                                                            Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) July 28, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

Jamie Lynn Gallian                                                                William Friedman
16222 Monterey Ln Unit 376                                                        1608 Montana Avenue
Huntington Beach, CA 92649                                                        Santa Monica, California 90403
Debtor

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) July 28, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 7/28/2022                      Gloria Estrada
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): TRUSTEE’S NOTICE OF OPPOSITION,
OPPOSITION AND REQUEST FOR HEARING TO DEBTOR'S NOTICE TO TRUSTEE TO ABANDON ESTATE’S
INTEREST IN REINVESTED FUNDS FROM SALE OF UNIT 53, 10/31/2018 APN 937-630-53 TO PURCHASE
LBM1081 ON NOVEMBER 1, 2018, AND AGAINST JAMIE LYNN GALLIAN RELATING TO THE PURCHASE IN THE
PERSONAL PROPERTY COMMONLY KNOWN AS 16222 MONTEREY LN #376, HUNTINGTON BEACH,
CALIFORNIA 92649; MEMORANDUM OF POINTS AND AUTHORITIES AND REQUEST FOR JUDICIAL NOTICE IN
SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) September 8, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:



                                                                                    Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) September 8, 2022 , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date)                     , I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 September 8, 2022                       Vivian Servin                                         /s/ Vivian Servin
 Date                                    Printed Name                                          Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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                                             ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

   •    Aaron E DE Leest adeleest@DanningGill.com,
        danninggill@gmail.com;adeleest@ecf.inforuptcy.com
   •    Robert P Goe               kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
   •    Jeffrey I Golden (TR)                   lwerner@go2.law, jig@trustesolutions.net;kadele@go2.law
   •    D Edward Hays ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.co
        m;cmendoza@ecf.courtdrive.com
   •    Brandon J Iskander                    biskander@goeforlaw.com, kmurphy@goeforlaw.com
   •    Eric P Israel eisrael@DanningGill.com,
        danninggill@gmail.com;eisrael@ecf.inforuptcy.com
   •    Laila Masud lmasud@marshackhays.com,
        lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
   •    Mark A Mellor                 mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com
   •    Valerie Smith              claims@recoverycorp.com
   •    United States Trustee (SA)                       ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY U.S. MAIL
Debtor                                          The Honorable Scott C. Clarkson
Jamie Lynn Gallian                              U.S. Bankruptcy Court
16222 Monterey Ln Unit 376                      411 W. Fourth Street, Suite 5130
Huntington Beach, CA 92649                      Santa Ana, CA 92701




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
